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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS@§.JUL g 8 AH m 28
WESTERN DIVISION

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UNITED STATES OF AMERICA *
*
vs. : Doci<er No. 05-CR-20204 ~Fi»
CHARLES LOVE, :
Defendant. *

ORDER GRANTING MO'I`ION TO EXTEND MOTION DEADLINE
AND 'I`O CONTINUE REPORT DATE

It appears to the Court that the Motion to Extend Motion Deadline and to
Continue Report Date submitted by defendant Charles Love is well taken and should be
granted. lt is

THEREFORE ORDERED, ADJUDGED AND DECREED that the deadline for
filing motions in this matter is hereby extended until September 20, 2005. lt is

FURTHER ORDERED ADJUDGED AND DECREED that the report date for

defendant Love is hereby reset for August 25, 2005, at 8: 45 a. rn.

 

lT is so oRDERED this /_\’§\ uiy,M 2005.
Jdg dBreen
ni tes District Court Judge
Date: ( ° r,?.BO€
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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
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Jonathan P. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Bryan H. Hoss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

William H. Farmer
FARMER & LUNA
333 Union St.

Ste. 300

Nashville, TN 37201

Honorable J. Breen
US DISTRICT COURT

